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                                  CERTIFICATE OF SERVICE

               I, Tori L. Remington, hereby certify that on February 21, 2024, I caused the

foregoing Certificate of No Objection Regarding Sixth Monthly Application of Troutman Pepper

Hamilton Sanders LLP for Compensation for Services Rendered and Reimbursement of Expenses

as Counsel for the Official Committee of Unsecured Creditors for the Period from December 1,

2023 Through and Including December 31, 2023 (the “CNO”) to be served upon the parties set

forth on the attached service list in the manner indicated. I further certify that all ECF participants

registered in these cases were served electronically on February 21, 2024, with the CNO through

the Court’s ECF system at their respective email addresses registered with the Court.



                                                       /s/ Tori L. Remington
                                                       Tori L. Remington (DE No. 6901)
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